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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                             LAKE CHARLES DIVISION


MICHAEL BENGLIS                                  CASE NO. 2:17-CV-00537

VERSUS                                           JUDGE ROBERT G. JAMES

U S COMMISSIONER SOCIAL                          MAG. JUDGE PEREZ-MONTES
SECURITY ADMINISTRATION


                                         JUDGMENT

        The Report and Recommendation of the Magistrate Judge having been considered, no

objections thereto having been filed, and finding that same is supported by the law and the record

in this matter,

        IT IS ORDERED, ADJUDGED, AND DECREED that the Commissioner’s decision is

AFFIRMED in its entirety, and this matter is hereby DISMISSED WITH PREJUDICE.

        SIGNED in Monroe, Louisiana, the 20th day of September, 2018.




                                                           ROBERT G. JAMES
                                                     UNITED STATES DISTRICT JUDGE
